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UNITED STATES DISTMCT COURT
SOUTHERN DISTRICT OF NEW YORK -
                                              X
FAUSTINO ALMAZO, ANTHONY MEJIA,
BERNABE DAMLAN, CARLOS TIPAZ,
DAMIAN MEYO VARELA, DAVID
MACARIO YAT ALVAREZ, RUFINO JOEL                        COMPLAINT
                                                                                               !r
YAT GONZALEZ, JOSE YAT CHIC
(A.K.A. EDGAR CASTRO), MIGUEL LUIS                      COLLECTI
YAT CHIC (A.K.A. MARCOS MIGUEL                          29 U.S.C. § 216(b)
YAT) and EDGAR CASTILLO, individually
and on behalfofothers similarly situated.               ECF Case


                               Plaintiffs,

               -against-

ENERGY RESOURCES PERSONNEL LLC.
(<Eb/a DIG INN), PUMP I7TH STREET LLC
(d^/a DIG INN), PUMP 52^® STREET LLC
(d^/a DIG INN), PUMP HOLDINGS, LLC
(d^/a DIG INN) and ADAM ESKJN,

                              Defendants.
                                              -X


       Plaintiffs Faustino Almazo, Anthony Mejia, Bemabe Damian, Carlos Tipaz, Damian

Meyo Varela, David Macario Yat Alvarez, Rufino Joel Yat Gonzalez, Jose Yat Chic (a.k.a.

Edgar Castro), Miguel Luis Yat Chic (a.k.a. Marcos Miguel Yat) and Edgar Castillo individually

and on behalf of others similarly situated (collectively, "Plaintiffs"), by and throughtheir

attorneys, Michael Faillace & Associates, P.C., upon their knowledge and belief, and as against

Energy Resources Personnel LLC (d/b/a Dig Inn), Pump 17*^ Street LLC. (d/b/a Dig Inn), Pump
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52°'' Street LLC (d/b/a Dig Inn), Pump Holdings, LLC (d^/a Dig Inn) ("Defendant
Corporations"), and Adam Eskin, (collectively "Defendants") allege as follows:


                                   NATURE OF THE ACTION


        1.      Plaintiffs are current and former employees of Defendants Energy Resources

Personnel LLC (d/b/a Dig Inn), Pump 17^ Street LLC (d/b/a Dig Inn), Pump 52"** Street LLC
(d/b/a Dig Inn), Pump Holdings, LLC (d/b/a Dig Inn) and Adam Eskin.

        2.       Defendants own, operate, or control a chain of health food restaurants in New

York City, two of which are located at 17 East 17th Street, New York, NY 10003 (hereafter "the

17^ Street location") and 150 East 52"'^ Street, New York, NY 10022 (hereafter "the 52"'* Street
location") both operating under the name "Dig Inn."

        3.      Upon information and belief. Individual Defendant Adam Eskin serves or served

as owner, manager, principal, or agent of Defendant Corporations, and through these corporate

entities operates or operated the restaurants as a joint or unified enterprise.

       4.       Plaintiffs are current and former employees of Defendants.

        5.      Plaintiffs have been primarily employed as delivery workers but they have been

required to spend a considerable part of the work day performing non-tipped, non-delivery

duties, including various restaurant duties such as sweeping and mopping, carrying and stocking

deliveries in the basement, bringing up vegetables and other items from the basement to the

kitchen, cutting vegetables, transferring dressing from a large container to small containers,

cleaning the bathrooms, kitchen, walls, windows and sidewalk, taking down the garbage to the

basement, rolling up utensils in napkins and putting them in a container and transporting food

and other items to and from other Dig Inns (hereafter the "non-tipped, non-delivery duties").

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       6.      At all times relevant to this Complaint, Plaintiffs have worked for Defendants in

excess of 40 hours per week, without appropriate compensation for the hours over 40 per week

that they have worked.

       7.      At all times relevant to this Complaint, Defendants have maintained a policy and

practice of requiring Plaintiffs and other employees to work without providing the minimum

wage and overtime compensation required by federal and state law and regulations.

       8.      Defendants have employed and accounted for Plaintiffs as delivery workers in

their payroll, but in actuality their duties have required greater or equal time spent in non-tipped,

non-delivery duties.

       9.      Regardless, at all times Defendants have paid these Plaintiffs at the tip-credit rate.

        10.    Under state law. Defendants have not been entitled to take a tip credit because

Plaintiffs' non-tipped duties exceeded 20% of each workday, or 2 hours per day (whicheverwas

less in each day) (12 N.Y.C.R.R. §146).

        11.    Upon information and belief. Defendants have employed the policy and practice

of disguising Plaintiffs' actual duties in payroll records to avoid paying Plaintiffs at the minimum

wage rate and to enable them to pay Plaintiffs at the lower tip-credited rate by designating them

as delivery workers instead of non-tipped employees.

        12.    Defendants have also maintained a policy and practice ofrequiring employees to

purchase "tools of the trade" such as bicycles and other equipment necessary for their jobs at the

employees' own expense.

       13.     Defendants' conduct is extended beyond Plaintiffs to all other similarly situated

employees.



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         14.     At all times relevant to this complaint, Defendants have maintained a policy and

practice of requiring Plaintiffs and other employees to work in excess of forty (40) hours per

week without providing the minimum wage and overtime compensation required by federal and

state law and regulations.

         15.     Plaintiffs now bring this action on behalf of themselves, and other similarly

situated individuals, for unpaid minimum wages and overtime wage orders pursuant to the Fair

Labor Standards Act of 1938, 29 U.S.C. § 201 et seq. ("FLSA"), and for violations of the N.Y.

Labor Law §§ 190 e/ seq. and 650 et seq. (the "NYLL"),, including applicable liquidated

damages, interest, attorneys' fees, and costs.

         16.     Plaintiffs seek certification of this action as a collective action on behalf of

themselves individually and all other similarly situated employees and former employees of

Defendants pursuant to 29 U.S.C. § 216(b).


                                  JURISDICTION AND VENUE



         17.     This Court has subject matter jurisdiction under 28 U.S.C. § 1331 (federal

question) and the FLSA, and supplemental jurisdiction over Plaintiffs' state law claims under 28

U.S.C. § 1367(a).

         18.     Venue is proper in this district under 28 U.S.C. § 1391(b) and (c) because all or a

substantial part of the events or omissions giving rise to the claims have occurred in this district.

Defendants maintain their corporate headquarters and offices within this district, and Defendants

operate their restaurants in this district. Further, Plaintiffs have been employed by Defendants in

this district.




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                                         THE PARTIES


                                            Plaintiffs

        19.    Plaintiff Faustino Almazo ("Plaintiff Almazo" or "Mr. Almazo") is an adult

individual residing in New York County,New York. PlaintiffAlmazo was employed by

Defendants from approximately 2001 until on or about December 12,2014 at the 17^street

location.


        20.    Plaintiff Anthony Mejia ("Plaintiff Mejia" or "Mr. Mejia") is an adult individual

residing in Bronx County, New York. PlaintiffMejia was employed by Defendants from

approximately December 2014 until on or about March 2015 at the 17^ streetlocation.

       21.     Plaintiff Bemabe Damian ("Plaintiff Damian" or "Mr. Damian") is an adult

individual residing in Queens County, New York. PlaintiffDamian has beenemployed by

Defendants from approximately November 26,2012 until onorabout February 2013 at the 52"^^
Street location and from approximately January 2014 until the present date at the 17^ street

location.


       22.     Plaintiff Carlos Tipaz ("Plaintiff Tipaz" or "Mr. Tipaz") is an adult individual

residing in Kings County, New York. PlaintiffTipaz was employed by Defendants from

approximately January 2014 imtil on or about November 2014 at the 17^street location.

       23.     Plaintiff Damian Meyo Varela ("Plaintiff Varela" or "Mr. Varela") is an adult

individual residingin Queens County, New York. PlaintiffVarelawas employed by Defendants

from approximately March2012 until on or about July 2012 and from approximately October

2014 imtil on or about March 2015 at the 17^ street location.

       24.     Plaintiff David Macario Yat Alvarez ("Plaintiff Alvarez" or "Mr. Alvarez") is an

adult individual residing in BronxCounty, New York. PlaintiffAlvarez was employed by
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Defendants from approximately December 2014 until onorabout April 8,2015 atthe 17^ street
location.


       25.     Plaintiff Rufino Joel Yat Gonzalez ("Plaintiff Gonzalez " or "Mr. Gonzalez ") is

an adult individual residing in Kings County, New York. Plaintiff Gonzalez was employed by

Defendants from approximately October 2013 until onorabout February 2015 atthe 17^ street
location.


       26.     Plaintiff Jose Yat Chic (a.k.a. Edgar Castro) ("Plaintiff Chic" or "Mr. Chic") is an

adult individual residing in Bronx Coimty, New York. Plaintiff Chic was employed by

Defendants from approximately October 2013 until on orabout March 2015 atthe 17^ street
location.


       27.     Plaintiff Miguel Luis Yat Chic (a.k.a. Marcos Miguel Yat) ("Plaintiff Yat" or

"Mr. Yat") is an adult individual residing in Kings County, New York. Plaintiff Yat has been

employed by Defendants from approximately April 2012 until the present date atthe 17**^ street
location.


       28.     Plaintiff Edgar Castillo ("Plaintiff Castillo" or "Mr. Castillo") is an adult

individual residing in Kings County, New York. Plaintiff Castillo has been employed by

Defendants from approximately November 2014 until the present date atthe 17^ street location.

                                              Defendants

       29.     At all relevant times. Defendants have owned, operated, or controlled health food

restaurants located at 17 East 17*^ Street, New York, NY 10003 and 150 East 52nd Street, New
York, NY 10022 under the name of Dig Inn.




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       30.     Upon mformation and belief, Energy Resources Personnel LLC (d/b/a Dig Inn) is

a domestic corporation organized and existing under the laws of the State of New York.

       31.     Upon information and belief, Energy Resources Personnel LLC maintains a

principal place of business at 17 East 17^ Street, New York, NY 10003.

       32.     Upon information and belief. Pump 17th Street LLC (d^/a Dig Inn) is a domestic

corporation organized and existing under the laws of the State ofNew York.

       33.     Upon information and belief. Pump 17th Street LLC maintains a principal place

of business at 17 East 17^Street, New York, NY 10003.

       34.     Upon information and belief. Pump 52"^^ Street LLC (d/b/a Dig Inn) isa domestic
corporation organized and existing under the laws of the State ofNew York.

       35.     Upon information and belief. Pump 52"^ Street LLC maintains a principal place of
business at 150 East 52"'* Street, New York, NY 10022.

       36.     Upon information and belief. Pump Holdings, LLC (d/b/a Dig Inn) is a domestic

corporation organized and existing under the laws of the State ofNew York.

       37.     Upon information and belief. Pump Holdings, LLC maintains a principal place of

business at 150 East 52"** Street, New York, NY 10022.

       38.     Defendant Adam Eskin is an individual engaging (or who was engaged) in

business in this judicial district during the relevant time period. Defendant Adam Eskin is sued

individually in his capacity as an owner, officer and/or agent of the Defendant Corporations.

Defendant Adam Eskin possesses or possessed operational control over Defendant Corporations,

an ownership interest in Defendant Corporations, or has controlled significant fimctions of

Defendant Corporations. He has determined the wages and compensation of the employees of



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Defendants, including Plaintiffs, and has established the schedules of the employees, maintained

employee records, and has had the authority to hire and fire employees.


                                  FACTUAL ALLEGATIONS


                              Defendants Constitute Joint Employers

        39.    Defendants operate health food restaurants located in the Flat iron and Midtown

East sections of Manhattan in New York City.
                                                                                     tfi
       40.     Defendants maintain their principal places of business at 17 East 17 Street, New

York, NY 10003 and 150 East 52nd Street, New York, NY 10022.

       41.     The individual Defendant, Adam Eskin, possesses operational control over

Defendant Corporations, possesses an ownership interest in Defendant Corporations, and

controls significant fimctions of Defendant Corporations.

       42.     Defendants are associated and joint employers, act in the interest of each other

with respect to employees, pay employees by the same method, and share control over the

employees.

       43.     Each Defendant has possessed substantial control over Plaintiffs' (and other

similarly situated employees') working conditions, and over the policies and practices with

respect to the employment and compensation of Plaintiffs, and all similarly situated individuals,

referred to herein.

       44.      Defendants jointly have employed Plaintiffs, and all similarly situated individuals,

and are Plaintiffs' (and all similarly situated individuals') employers within the meaning of 29

U.S.C. 201 et seq. and the NYLL.




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       45.     In the alternative. Defendants constitute a single employer of Plaintiffs and/or

similarly situated individuals.

       46.     Upon information and belief. Individual Defendant Adam Eskin operates

Defendant Corporations as either alter egos of himself, and/or fails to operate Defendant

Corporations as entities legally separate and apart from himself, by among other things:

               a.      failing to adhere to the corporate formalities necessary to operate

               Defendant Corporations as corporations;

               b.      defectively forming or maintaining the Defendant Corporations, by

               amongst other things, failing to hold annual meetings or maintaining appropriate

               corporate records;

               c.      transferring assets and debts freely as between all Defendants;

               d.      operating Defendant Corporations for his own benefit as the sole or

               majority shareholder;

               e.      operating Defendant Corporations for his own benefit and maintaining

               control over them as closed corporations;

               f.      intermingling assets and debts of his own with Defendant Corporations;

               g.      diminishing and/or transferring assets to avoid full liability as necessary to

               protect his own interests, and

               h.      other actions evincing a failure to adhere to the corporate form.

       47.     At all relevant times. Defendants have been Plaintiffs' employers within the

meaning ofthe FLSA and New York Labor Law. Defendants have had the power to hire and

fire Plaintiffs, control the terms and conditions of employment, and determine the rate and

method of any compensation in exchange for Plaintiffs' services.
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        48.      In each year from April 2011 to the present. Defendants, both separately and

jointly, have had a gross annual volume of sales of not less than $500,000 (exclusive of excise

taxes at the retail level that are separately stated).

        49.      In addition, upon information and belief. Defendants and/or their enterprise have

been directly engaged in interstate commerce. As an example, numerous items that have been

used in the restaurants on a daily basis are goods produced outside of the State ofNew York.

                                          Individual Plaintiffs

        50.      The Plaintiffs are current and former employees of the Defendants who are (were)

ostensibly employed as delivery workers. However, they have spent a considerable amount of

time performing the non-tipped and non-delivery duties described above.

        51.      Plaintiffs seek to represent a class of similarly situated individuals under 29

U.S.C. 216(b).

                                       PlaintiffFaustina Almazo

        52.      Plaintiff Almazo was employed by Defendants from approximately 2001 imtil on

or about December 12,2014 at the 17^Street location.

        53.      Defendants ostensibly employed Plaintiff Almazo as a delivery worker.

        54.      However, Plaintiff Almazo also was required to spend a significant portion of his

work day performing the non-tipped, non-delivery duties described above.

        55.      Although Plaintiff Almazo ostensibly was employed as a delivery worker, he

spent over three hours of each day performing non-delivery work.

        56.      Plaintiff Almazo regularly handled goods in interstate commerce, such as food

and other supplies produced outside the State of New York.

        57.      Plaintiff Almazo's work duties required neither discretion nor independent
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judgment.

       58.     From approximately April 13,2011 until on or about October 2014, Plaintiff

Almazo worked from approximately 11:00 a.m. imtil on or about 3:00 p.m. Mondays through

Fridays, and from approximately 10:00 a.m. until on or about 8:00 or 9:00 p.m. on Sundays;

however. Plaintiff Almazo frequently worked additional hours up to approximately 43 hours per

week (typically 30 to 43 hours per week).

       59.     From approximately October 2014 until on or about December 12,2014, Plaintiff

Almazo worked from approximately 11:00 a.m. until on or about 4:00 p.m. on Sundays, and

from approximately 11:00 a.m. until on or about 3:00 p.m. on Mondays and Tuesdays (typically

13 hours per week).

       60.     Throughout his employment with Defendants, Plaintiff Almazo was paid his

wages by check.

       61.     From approximately April 13,2011 until on or about Jime 2013, Plaintiff Almazo

was paid $5.00 per hour.

       62.     From approximately June 2013 until on or about December 12,2014, Plaintiff

Almazo was paid $5.65 per hour.

       63.     Plaintiff Almazo's pay did not vary even when he was required to stay later or

work a longer day than his usual schedule.

       64.     In fact. PlaintiffAlmazo often was required to work additional hours and was not

paid the correct overtime rate for hours worked over 40.

       65.     Defendants required Plaintiff Almazo to purchase "tools of the trade" with his

own fimds—^including three bicycles for $1400 each, a helmet for $150, three bicycle bells for



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$25 each and three sets of lights for $75 each. Thus, the total cost of the 'tools of the trade"

PlaintiffAlmazowas requiredto purchaseas a deliveryman was approximately $4,500.00.

                                      PlaintiffAnthony Mejia

       66.      Plaintiff Mejia was employed by Defendants from approximately December 2014

imtil on or about March 2015 at the 17^ street location.

       67.      Defendantsostensibly employed Plaintiff Mejia as a delivery worker.

       68.      However, Plaintiff Mejia also was required to spend a significantportion of his

work day performing the non-tipped, non-delivery duties described above.

       69.      Although Plaintiff Mejia ostensibly was employed as a delivery worker, he spent

over three hours of each day performing non-deliverywork.

       70.      Plaintiff Mejia regularly handled goods in interstate commerce, such as food and

other supplies produced outside the State of New York.

       71.      PlaintiffMejia's work duties required neither discretion nor independent

judgment.

       72.      Throughouthis employmentwith Defendants, Plaintiff Mejia regularly worked in

excess of40 hours per week.

       73.      From approximately December 2014 until on or about March 2015, Plaintiff

Mejia worked from approximately 4:00 p.m. until on or about 11:00 p.m. Mondays through

Saturdays (typically 42 hours per week).

       74.      Throughout his employment with Defendants, PlaintiffMejia was paid his wages

by check.

       75.      From approximately December 2014 until on or about March 2015, Plaintiff

Mejia was paid $5.65 per hour.
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        76.    Plaintiff Mejia was only paid overtime at his straight hourly rate for hours worked

over 40.


        77.    Defendants did not provide Plaintiff Mejia with meal breaks or rest periods of any

kind.


        78.    Defendants required Plaintiff Mejia to purchase "tools of the trade" with his own

fimds—including two bicycles for $200, a basket for $30 and a helmet for $50. Thus, the total

cost of the "tools ofthe trade" Plaintiff Mejia was required to purchase as a deliveryman was

approximately $480.00.

                              PlaintiffBernabe Damian

        79.    Plaintiff Damian was employed by Defendants from approximately November 26,

2012 until on orabout February 2013 atthe 52"^ street location, and has been employed by
defendants from approximately January 20,2014 until the present date atthe 17^ street location.
        80.    Defendants ostensibly have employed Plaintiff Damian as a delivery worker.

        81.    However, Plaintiff Damian also has been required to spend a significant portion

ofhis work day performing the non-tipped, non-delivery duties described above.

        82.    Although Plaintiff Damian ostensibly has been employed as a delivery worker, he

has spent approximately two hours of each day performing non-delivery work.

        83.    Plaintiff Damian regularly has handled goods in interstate commerce, such as

food and other supplies produced outside the State of New York.

        84.    Plaintiff Damian's work duties have required neither discretion nor independent

judgment.

        85.    From approximately November 26,2012 until on or about February 2013,

PlaintiffDamian worked atthe 52"^^ Street location from approximately 11:00 a.m. until onor
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about 2:00 p.m. two days per week, from approximately 11:00 a.m. until on or about 3:00 p.m.

two days per week, and from approximately 12:00 p.m. until on or about 3:00 p.m. on Sundays

(typically 17 hours per week).

       86.     From approximately January 20,2014 until on or about March 2015, Plaintiff

Damian worked atthe 17^ Street location from approximately 11:00 a.m. until on orabout 3:00
p.m. Mondays through Thursdays, and from approximately 10:00 a.m. until on or about 3:00

p.m. on Sundays (typically 21 hours per week).

       87.     From approximately March 2015 until the present date. Plaintiff Damian has
                  til
worked at the 17 Street locationfrom approximately 4:00 p.m. until on or about 9:00 p.m.

Mondays through Thursdays, and from approximately 11:00a.m. until on or about 3:00 p.m. on

Fridays (typically 24 hours per week).

       88.     Throughouthis employmentwith Defendants, Plaintiff Damian has been paid his

wages by check.

       89.     From approximately November 26,2012 until on or about February 2013, and

from January 20,2014 until on or about July 2014, PlaintiffDamian was paid $5.65 per hour.

       90.     From approximately July 2014 until the present date Plaintiff Damian has been

paid $5.65 per hour and $9.00per hour for hoursthat he records as doing non-delivery work,

particularly whenhe is sent to other Dig Inn restaurants to bringsupplies.

       91.     Defendantshave required Plaintiff Damian to purchase 'tools of the trade" with

his own funds—^including 2 bicycles for $150 each, a basketfor $30,two setsof lights for $25

each, one bell for $20 and one helmet for $35. Thus, the total cost ofthe "tools ofthe trade"

PlaintiffDamian has been required to purchase as a deliveryman is approximately $435.00.

                                  PlaintiffCarlos Tipaz
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       92.     Plaintiff Tipaz was employed by Defendants from approximately January 2014

until on or about November 2014 at the 17^ Street location.

       93.    Defendants ostensibly employed Plaintiff Tipaz as a delivery worker.

       94.    However, Plaintiff Tipaz was also required to spend a significant portion of his

work day performing the non-tipped duties described above.

       95.    Although Plaintiff Tipaz was ostensibly employed as a delivery worker, he spent

over two hours of each day performing non-delivery work throughout his employmentwith

Defendants.

       96.    Plaintiff Tipaz regularly handled goods in interstate commerce, such as food and

other supplies produced outside the State of New York.

       97.    Plaintiff Tipaz's work duties required neither discretion nor independent

judgment.

       98.    From approximately January 2014 until on or about February 2014, Plaintiff

Tipaz worked from approximately 11:00 a.m. until on or about 3:00 p.m. Mondays through

Fridays, and from approximately 10:00 a.m. until on or about 3:00 p.m. on Saturdays (typically

25 hours per week).

       99.    From approximately March 2014 imtil on or about November 2014, Plaintiff

Tipaz worked from approximately 12:00 p.m. until on or about 3:00 p.m. Mondays through

Fridays, and from approximately 10:00 a.m. until on or about 3:00 p.m. on Saturdays (typically

20 hours per week).

       100.   Throughout his employment with Defendants, Plaintiff Tipaz was paid his wages

by check.

       101.   From approximately January 2014 until on or about November 2014, Plaintiff
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Tipaz was paid $5.65 per hour, except that on Saturdays for one hour extra of stocking items he

was paid $7.50 for that one hour.

        102.    Defendants required Plaintiff Tipaz to purchase "tools of the trade" with his own

funds—^including two bicycles one for $400 and one for $200, and a basket for $35. Thus, the

total cost ofthe "tools of the trade" Plaintiff Tipaz was required to purchase as a deliveryman

was approximately $635.00.

                                    PlaintiffDamian Meyo Varela

        103.    Plaintiff Varela was employed by Defendants from approximately March 2012

until on or about July 2012, and from approximately October 2014 until on or about March 2015

at the l?'^ Street location.

        104.    Defendants ostensibly employed Plaintiff Varela as a delivery worker.

        105.    However, Plaintiff Varela also was required to spend a significant portion of his

work day performing the non-tipped duties described above.

        106.    Although Plaintiff Varela ostensibly was employed as a delivery worker, he spent

approximately 2 hours of each day performing non-delivery work throughout his employment

with Defendants.

        107.    Plaintiff Varela regularly handled goods in interstate commerce, such as food and

other supplies produced outside the State of New York.

        108.    Plaintiff Varela's work duties required neither discretion nor independent

judgment.

        109.    From approximately March 2012 until on or about July 2012, Plaintiff Varela

worked from approximately 11:00 a.m. until on or about 3:00 p.m. five days for week (typically

20 hours per week).
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        110.   From approximately October 2014 until on or about November 2014, Plaintiff

Varela worked from approximately 11:30a.m. until on or about 3:00 p.m. Mondays through

Thursdays and from approximately 9:00 a.m. imtilon or about3:00 p.m. on Saturdays (typically

20 hours per week).

        111.   From approximately November 2014 until on or about March 2015, Plaintiff

Varela worked from approximately 11:30a.m. until on or about 3:00 p.m. Mondays through

Thursdays and from approximately 10:00 a.m. until on or about 3:00 p.m. on Saturdays

(typically 19 hours per week).

       112.    Throughout his employment with Defendants, Plaintiff Varela was paid his wages

by check.

       113.    From approximately March 2012 until on or about July 2012, Plaintiff Varela was

paid $5.00 per hour.

       114.    From approximately October 2014 until on or about March 2015, Plaintiff Varela

was paid $5.65 per hour.

       115.    Defendantsrequired Plaintiff Varela to purchase "tools of the trade" with his own

funds—^including three bicycles (one for $200, one for $100 and one for $220), and two baskets

for $30 each. Thus, the total cost of the "tools of the trade" PlaintiffVarela was requiredto

purchase as a deliveryman was approximately $580.00.

                                 PlaintiffDavid Macario YatAlvarez

       116.    PlaintiffAlvarez was employed by Defendants from approximately December

2014 until onor about April 8,2015 at the 17^ street location.
       117.    Defendants ostensibly employed Plaintiff Alvarez as a delivery worker.



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       118.    However, Plaintiff Alvarez was also required to spend a significant portion ofhis

work day performing the non-tipped duties described above.

       119.    Although Plaintiff Alvarez was ostensibly employed as a delivery worker, he

spent between one and a half and two hours of each day performing non-delivery work

throughout his employment with Defendants.

       120.    Plaintiff Alvarez regularly handled goods in interstate commerce, such as food

and other supplies produced outside the State ofNew York.

       121.    Plaintiff Alvarez's work duties required neither discretion nor independent

judgment.

       122.    From approximately December 2014 until on or about April 8,2015 Plaintiff

Alvarez worked from approximately 11:30a.m. until on or about 3:00 p.m. Mondaysthrough

Fridays (typically 17.5 hours per week).

       123.    Throughout his employment with Defendants, PlaintiffAlvarez was paid his

wages by check.

       124.    From approximately December 2014 until on or about April 8,2015, Plaintiff

Alvarez was paid $5.65 per hour.

       125.   Defendants required Plaintiff Alvarez to purchase "tools of the trade" with his

own funds—^including a bicycle for $500, a basket for $60 and a helmet for $50. Thus, the total

cost ofthe "tools of the trade" Plaintiff Alvarez was required to purchase as a deliverymanwas

approximately $610.00.

                               PlaintiffRufino Joel Yat Gonzalez

       126.   Plaintiff Gonzalez was employed by Defendants from approximately October

2013 until onor about February 2015 at the 17^ Street location.
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       127.    Defendants ostensibly employed Plaintiff Gonzalez as a delivery worker.

       128.    However, Plaintiff Gonzalez was also required to spend a significant portion of

his work day performing the non-tipped duties described above.

       129.    Although Plaintiff Gonzalez was ostensibly employed as a delivery worker, he

spent approximately two hours of each day performing non-delivery work throughout his

employment with Defendants.

       130.    Plaintiff Gonzalez regularly handled goods in interstate commerce, such as food

and other supplies produced outside the State of New York.

       131.    Plaintiff Gonzalez's work duties required neither discretion nor independent

judgment.

       132.    From approximately October 2013 until on or about February 2014, Plaintiff

Gonzalez worked from approximately 11:00 a.m. until on or about 3:00 p.m. Mondays through

Fridays, and from approximately 10:00 a.m. until on or about 4:00 p.m. on Saturdays (typically

26 hours per week).

       133.    From approximately February 2014 until on or about February 2015, Plaintiff

Gonzalez worked from approximately 11:00 a.m. until on or about 3:00 p.m. Mondays through

Fridays (typically 20 hours per week).

       134.    Throughout his employment with Defendants, Plaintiff Gonzalez was paid his

wages by check.

       135.    From approximately October 2013 imtil on or about February 2015, Plaintiff

Gonzalez was paid $5.65 per hour, except that when he worked on Saturdays for one hour extra

of carrying items down to the basement he was paid $7.50 for that one hour.

       136.    Defendants required Plaintiff Gonzalez to purchase "tools of the trade" with his
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own funds—^including three bicycles (one for $300, one for $400 and one for $450) and a basket

for $35. Thus, the total cost of the 'tools of the trade" Plaintiff Gonzalez was required to

purchase as a deliveryman is approximately $1,185.00.

                           PlaintiffJose Yat Chic (a.ka. Edgar Castro)

         137.   Plaintiff Chic was employed by Defendants from approximately October 2013

until on or about March 2015 at the 17^ Street location.

         138.   Defendants ostensibly employed Plaintiff Chic as a delivery worker.

         139.   However, Plaintiff Chic also was required to spend a significant portion of his

work day performing the non-tipped duties described above.

         140.   Although Plaintiff Chic was ostensibly employed as a delivery worker, he spent

approximately two hours of each day performing non-delivery work throughout his employment

with Defendants.


         141.   Plaintiff Chic regularly handled goods in interstate commerce, such as food and

other supplies produced outside the State of New York.

         142.   Plaintiff Chic's work duties required neither discretion nor independent judgment.

         143.   From approximately October 2013 imtil on or about March 2015, Plaintiff Chic

worked from approximately 11:00 a.m. until on or about 3:00 p.m. Mondays through Fridays,

and from approximately 6:00 p.m. until on or about 9:00 p.m. on Simdays (typically 23 hours per

week).

         144.   Throughout his employment with Defendants, Plaintiff Chic was paid his wages

by check.

         145.   From approximately October 2013 until on or about March 2015, Plaintiff Chic

was paid $5.65 per hour.
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        146.   Defendants required Plaintiff Chic to purchase "tools of the trade" with his own

funds—including four bicycles (two for $300 each, one for $250 and one for $400) and four

baskets for $35 each. Thus, the total cost of the "tools of the trade" Plaintiff Chic was required to

purchase as a deliveryman was approximately $1,390.00.

                        PlaintiffMiguel Luis Yat Chic (a.k.a. Marcos Miguel Yat)

        147.   Plaintiff Yat has been employed by Defendants from approximately April 2012

until the present date atthe 17^ Street location.
        148.   Defendants ostensibly have employed Plaintiff Yat as a delivery worker.

        149.   However, Plaintiff Yat also has been required to spend a significant portion of his

work day performing the non-tipped duties described above.

       150.    Although Plaintiff Yat has ostensibly been employed as a delivery worker, he has

spent over two hours of each day performing non-delivery work.

       151.    Plaintiff Yat regularly has handled goods in interstate commerce, such as food

and other supplies produced outside the State of New York.

       152.    Plaintiff Yat's work duties have required neither discretion nor independent

judgment.

       153.    From approximately April 2012 until on or about January 2015, Plaintiff Yat

worked from approximately 11:00 a.m. until on or about 3:00 p.m. Mondays through Fridays

(typically 20 hours per week).

       154.    From approximately January 2015 until the present date. Plaintiff Yat has worked

from approximately 11:30 a.m. until on or about 3:00 p.m. Mondays through Fridays (typically

17.5 hours per week).



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       155.    Throughout his employment with Defendants, Plaintiff Yat has been paid his

wages by check.

       156.    From approximately April 2012 until the present date. Plaintiff Yat has been paid

$5.65 per hour.

       157.    Defendants have required Plaintiff Yat to purchase "tools of the trade" with his

own funds—^including three bicycles (one for $200, one for $350 and one for $400) and a basket

for $35. Thus, the total cost of the "tools of the trade" Plaintiff Yat has been requiredto purchase

as a deliveryman is approximately $985.00.

                                         PlaintiffEdgar Castillo

       158.    Plaintiff Castillo has been employed by Defendants from approximately

November 2014 until the present date atthe 17^ Street location.
       159.    Defendants ostensibly have employed Plaintiff Castillo as a delivery worker.

       160.    However, Plaintiff Castillo has also been required to spend a significant portion of

his work day performing the non-tipped duties described above.

       161.    Although Plaintiff Castillo has ostensibly been employed as a delivery worker, he

has spent approximately two hours of each day performing non-deliverywork throughout his

employment with Defendants.

       162.    Plaintiff Castillo regularly has handled goods in interstate commerce, such as food

and other supplies produced outside the State of New York.

       163.    Plaintiff Castillo's work duties have required neither discretion nor independent

judgment.

       164.    From approximately November 2014 until the present date. Plaintiff Castillo has

worked from approximately 11:00 a.m. until on or about 3:30 p.m. Mondays through Thursdays,
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and from approximately 10:00a.m. until on or about 9:00 p.m. on Saturdays (typically 29 hours

per week).

        165.   Throughouthis employmentwith Defendants, Plaintiff Castillo has been paid his

wages by check.

        166.   From approximately November 2014 until the present date. Plaintiff Castillo has

been paid $5.65 per hour, except on Saturdays he works for one hour extra cleaning and he is

paid $9.00 for that extra hour.

        167.   Defendants have required Plaintiff Castillo to purchase 'tools of the trade" with

his own funds—^including one bicycle for $400 and one basket for $30. Thus, the total cost ofthe

"tools of the trade" Plaintiff Castillo has been required to purchase as a deliverymanis

approximately $430.00.

                            Defendants' General Employment Practices

        168.   At all times relevant to this Complaint, Defendants have maintained a policy of

requiring some Plaintiffs (and all similarly situated employees)to work in excess of 40 hours a

week without paying them appropriateminimum wage and overtime, as required by federal and

state laws.


        169.   Plaintiffs have been victims of Defendants' common policy and practices which

violate their rights under the FLSA and New York Labor Law by, inter alia, not payingthem the

wages they were owed for the hours they worked.

        170.   Defendants' pay practices have caused Plaintiffs to not receive payment for all

their hours worked, resulting in Plaintiffs' effective rate of pay falling below the required

minimum wage rate.



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          171.   Defendants have also maintained a policy and practice of requiring employees to

purchase "tools of the trade" such as bicycles and other equipment necessary for their jobs at the

employees' own expense.

          172.   As part of its regular business practice. Defendants have intentionally, willfully,

and repeatedly harmed Plaintiffs by engaging in a pattern, practice, and/or policy of violating the

FLSAandtheNYLL.


          173.   At no time have the Defendants informed the Plaintiffs that they have reduced

their hourly wage by a tip allowance.

          174.   Defendants have required the Plaintiffs to perform general non-delivery, non-

tipped duties in addition to their primary duties as delivery workers.

          175.   Plaintiffs have been employed ostensibly as tipped employees by Defendants,

although their actual duties have included greater or equal time spent performing non-tipped

duties.


          176.   Plaintiffs have been paid at the lowered tip-credited rate by Defendants; however,

imder state law Defendants have not been entitled to a tip credit because Plaintiffs' non-tipped

duties have exceeded 20% of each workday (or 2 hours a day, whichever was less) (12

N.Y.C.R.R. § 146).

          177.   New York State regulations provide that an employee cannot be classified as a

tipped employee "on any day... in which he has been assigned to work in an occupation in which

tips are not customarily received." (12 N.Y.C.R.R. §§137-3.3 and 137-3.4). Similarly, under

federsd regulation 29 C.F.R. §531.56(e), an employer may not take a tip credit for any employee

time if that time is devoted to a non-tipped occupation.



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        178.   Plaintiffs' duties have not been incidental to their occupation as delivery workers,

but instead have constituted entirely unrelated general restaurant work with duties includingthe

non-tipped duties described above.

       179.    In violation of federal and state law as codified above. Defendants have classified

Plaintiffs as tipped employees and paid them at the tip-credited rate when they should have

classified them as non-tipped employees and paid them at the minimum wage rate.

       180.    Upon information and belief, these practices by Defendants have been done

willfully to disguise the actual number of hours Plaintiffs (and similarly situated individuals)

worked, and to avoid paying Plaintiffs properly for their full hours worked.

       181.    Defendants have also failed to post at the workplace, or otherwise provide to

employees, the required postings or notices to employees regarding the applicable wage and hour

requirements of the FLSA and NYLL.


                           FLSA COLLECTIVE ACTION CLAIMS


       182.    Plaintiffs bring their FLSA minimum wage, overtime, and liquidated damages

claims as a collective action pursuant to FLSA Section 16(b), 29 U.S.C. § 216(b), on behalf of all

similarly situated persons who are or were employed by Defendants or any of them, on or after

the date that is three years before the filing of the complaint in this case (the "FLSA Class

Period"), as employees of Defendants (the "FLSA Class").

       183.    At all relevant times. Plaintiffs, and other members of the FLSA Class who are

and/or have been similarly situated, have had substantially similar job requirements and pay

provisions, and have been subject to Defendants' common practices, policies, programs,

procedures, protocols and plans of willfully failing and refusing to pay them at a one and one-

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half their regular rates for work in excess of forty (40) hours per work week, and willfully failing

to keep records required by the FLSA.

       184.    The claims of Plaintiffs stated herein are similar to those ofthe other employees.


                                    FIRST CAUSE OF ACTION
        (VIOLATION OF THE MINIMUM WAGE PROVISIONS OF THE FLSA)

       185.    Plaintiffs repeat and reallege all paragraphs above as though fully set forth herein.

       186.    At all times relevant to this action. Defendants have been Plaintiffs' employers

within the meaning of the Fair Labor Standards Act, 29 U.S.C. § 203(d). Defendants have had

the power to hire and fire Plaintiffs, control the terms and conditions of employment, and

determine the rate and method of any compensation in exchange for their employment.

       187.    At all times relevant to this action. Defendants have been engaged in commerce or

in an industry or activity affecting commerce.

       188.    Defendants constitute an enterprise within the meaning of the Fair Labor

Standards Act, 29 U.S.C. § 203 (r-s).

       189.    Defendants have failed to pay Plaintiffs at the applicable minimum hourly rate, in

violation of 29 U.S.C. § 206(a).

       190.    Defendants' failure to pay Plaintiffs at the applicable minimum hourly rate has

been willful within the meaning of 29 U.S.C. § 255(a).

       191.    Plaintiffs have been damaged in an amount to be determined at trial.


                                   SECOND CAUSE OF ACTION
            (VIOLATION OF THE OVERTIME PROVISIONS OF THE FLSA)

       192.    Plaintiffs repeat and reallege all paragraphs above as though fully set forth herein.



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       193.    Defendants, in violation of the FLSA, have failed to pay Plaintiffs overtime

compensation at rates of one and one-half times the regular rate of pay for each hour worked in

excess of forty hours in a workweek, in violation of 29 U.S.C. § 207(a)(1).

       194.    Defendants' failure to pay Plaintiffs and the putative FLSA Class members

overtime compensation has been willful within the meaning of 29 U.S.C. § 255(a).

       195.    Plaintiffs have been damaged in an amount to be determined at trial.


                                 TfflRD CAUSE OF ACTION
              (VIOLATION OF THE NEW YORK MINIMUM WAGE ACT)

       196.    Plaintiffs repeat and reallege all paragraphs above as though fully set forth herein.

       197.    At all times relevant to this action. Defendants have been Plaintiffs' employers

within the meaning of the N.Y. Lab. Law §§ 2 and 651. Defendants have had the power to hire

and fire Plaintiffs, have controlled the terms and conditions of employment, and have determined

the rates and methods of any compensation in exchange for their employment.

       198.    Defendants, in violation ofNYLL § 652(1) and the supporting regulations of the

New York State Department of Labor, have paid Plaintiffs less than the minimxim wage.

       199.    Defendants' failure to pay Plaintiffs the minimum wagehas been willful within

the meaning of N.Y. Lab. Law § 663.

       200.    Plaintiffs have been damaged in an amount to be determined at trial.

                                FOURTH CAUSE OF ACTION
               (VIOLATION OF THE OVERTIME PROVISIONS OF THE
                             NEW YORK STATE LABOR LAW)

       201.    Plaintiffs repeatand reallege all paragraphs above as though fully set forth herein.

       202.    Defendants, in violation ofN.Y. Lab. Law § 190       seq. and supporting

regulations of the New York State Department of Labor, have failed to pay Plaintiffs overtime
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compensationat rates of one and one-half times the regular rate of pay for each hour worked in

excess of forty hours in a workweek.

       203.    Defendants have failed to pay Plaintiffs in a timely fashion, as required by Article

6 of the New York Labor Law.

       204.    Defendants' failure to pay Plaintiffs overtime compensation has been willful

within the meaning of N.Y. Lab. Law § 663.

       205.    Plaintiffs have been damaged in an amoimt to be determined at trial.

                                 FIFTH CAUSE OF ACTION
                          (RECOVERY OF EQUIPMENT COSTS)

       206.    Plaintiffs repeat and reallege all paragraphs above as though set forth fiilly herein.

       207.    Defendants required Plaintiffs to pay, without reimbursement, the costs and

expenses for purchasing and maintaining equipment and "tools of the trade" required to perform

their jobs, such as bicycles, further reducing their wages in violation of the FLSA and NYLL. 29

U.S.C. § 206(a); 29 C.F.R. § 531.35; N.Y. Lab. Law §§ 193 and 198-b.

       208.    Plaintiffs were damaged in an amount to be determined at trial.


                                    PRAYER FOR RELIEF



       WHEREFORE, Plaintiffs respectfully request that this Court enter judgment against

Defendants:


       (a)     Designating this action as a collective action and authorizing prompt issuance of

notice, pursuant to 29 U.S.C. § 216(b), to all putative class members apprising them ofthe

pendency of this action, and permitting them to promptly file consents to be Plaintiffs in the

FLSA claims in this action;


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        (b)      Declaring that Defendants have violated the minimum wage provisions of, and

associated rules and regulations under, the FLSA as to Plaintiffs (including the prospective

collective class members);

        (c)      Declaring that Defendants have violated the overtime wage provisions of, and

associated rules and regulations under, the FLSA as to Plaintiffs (including the prospective

collective class members);

        (d)      Declaring that Defendants' violation of the provisions of the FLSA has been

willfiil as to Plaintiffs (including the prospective collective class members);

        (e)      Awarding Plaintiffs (including the prospective collective class members) damages

for the amount of unpaid minimum and overtime wages, and damages for any improper

deductions or credits taken against wages under the FLSA as applicable;

        (f)      Awarding Plaintiffs (including the prospective collective class members)

liquidated damages in an amount equal to 100% of their damages for the amount of unpaid

minimum and overtime wages, and damages for any improper deductions or credits taken against

wages under the FLSA as applicable pursuant to 29 U.S.C. § 216(b);

        (g)      Declaring that Defendants have violated the minimum wageprovisions of, and

rules and orders promulgated under, the NYLL as to Plaintiffs;

        (h)      Declaring that Defendants have violated the overtime wage provisions of, and

rules and orders promulgated under, the NYLL as to Plaintiffs;

        (i)      Declaringthat Defendants' violations of the New York Labor Law have been

willfiil as to Plaintiffs;

        (j)      Awarding Plaintiffs damagesfor the amountof unpaid minimum and overtime

wages, damages for any improper deductions or credits taken against wages;
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          (k)   Awarding Plaintiffs damages for Defendants' violation of the NYLL notice and

recordkeeping provisions, pursuant to NYLL §§198(l-b), 198(l-d);

          (1)   Awarding Plaintiffs liquidated damages in an amount equal to one hundred

percent (100%) of the total amount of minimum wage and overtime compensation shown to be

owed pursuant to NYLL § 663 as applicable; and liquidated damages pursuant to NYLL §

198(3);

          (m)   Awarding Plaintiffs (including the prospective collective class members) pre-

judgment and post-judgment interest as applicable;

          (n)    Awarding Plaintiffs (including the prospective collective class members) the

expenses incurred in this action, including costs and attorneys' fees;

          (o)   Providing that if any amounts remain unpaid upon the expiration of ninety days

following issuance ofjudgment, or ninety days after expiration of the time to appeal and no

appeal is then pending, whichever is later, the total amount ofjudgment shall automatically

increase by fifteen percent, as required by NYLL § 198(4); and

          (p)   All such other and further relief as the Court deems just and proper.

Dated: New York, New York
          May 29, 2015

                                                      MlCH/VeCTTSiILLaCE &ASSOG^ES, P.C.

                                              By:
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